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                             UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA

                                  SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                              Case No. 3:23-cv-03417-VC

        Individual and Representative Plaintiffs,
                                                     REPLY IN SUPPORT OF PLAINTIFFS’
   v.                                                MOTION FOR LEAVE TO FILE THIRD
                                                     AMENDED CONSOLIDATED
META PLATFORMS, INC.,                                COMPLAINT

                                     Defendant.




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Dated: December 18, 2024                        By: /s/ Joshua M. Stein______
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